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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                       )
In re:                                                                 )
                                                                       )    Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                                   )
                                                                       )    Case No. 19-34054 (SGJ)
                             Reorganized Debtor.                       )
                                                                       )
                                                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                      )
                                                                       )
                              Plaintiff,                               )
vs.                                                                    )    Adv. Pro. No. 21-03010 (SGJ)
                                                                       )
HIGHLAND CAPITAL MANAGEMENT FUND                                       )
ADVISORS, L.P. AND NEXPOINT ADVISORS, L.P.,                            )
                                                                       )
                              Defendants.                              )
                                                                       )

                                      CERTIFICATE OF SERVICE

       I, Jonathan J. Thomson, depose and say that I am employed by Kurtzman Carson
Consultants LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the
above-captioned case.

        On January 4, 2022, at my direction and under my supervision, employees of KCC
caused the following documents to be served via Electronic Mail upon the service lists attached
hereto as Exhibit A and Exhibit B; and via First Class Mail upon the service lists attached
hereto as Exhibit C and Exhibit D:

      •   Highland's Amended Notice of Rule 30(b)(6) Deposition to (A) Highland Capital
          Management Fund Advisors, L.P. and (B) NexPoint Advisors, L.P. [Docket No. 53]

      •   Highland's Amended Notice of Rule 30(b)(6) Deposition to (A) Highland Capital
          Management Fund Advisors, L.P. and (B) NexPoint Advisors, L.P. [Docket No. 54]


                                           (Continued on Next Page)


1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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   •   Highland's Notice of Deposition to Dustin Norris [Docket No. 55]

Dated: January 6, 2022
                                             /s/ Jonathan J. Thomson
                                             Jonathan J. Thomson
                                             KCC
                                             222 N Pacific Coast Highway, Suite 300
                                             El Segundo, CA 90245




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                              EXHIBIT A
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                                                                               Exhibit A
                                                                         Core/2002 Service List
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                  Description                                CreditorName                      CreditorNoticeName                          Email
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& Pamela Okada Familty Trust - Exempt Trust
#2, the Okada Insurance Rabbi Trust and the
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Get Good Trust                                     Heller, Draper & Horn, L.L.C.       Greta M. Brouphy                        gbrouphy@hellerdraper.com
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                                                                           Exhibit A
                                                                     Core/2002 Service List
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                                                                                     Division of Corporations - Franchise
DE Secretary of State                              State of Delaware                 Tax                                    dosdoc_bankruptcy@state.de.us




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                                                                               Exhibit A
                                                                         Core/2002 Service List
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                  Description                              CreditorName                        CreditorNoticeName                            Email
Counsel for Mark Okada, the Mark & Pamela
Okada Family Trust - Exempt Trust #1, the Mark
& Pamela Okada Familty Trust - Exempt Trust
#2, the Okada Insurance Rabbi Trust and the
Okada Family Foundation,Inc.                    Sullivan Cromwell LLP                  Brian D. Glueckstein                 gluecksteinb@sullcrom.com
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                                                The Mark and Pamela Okada
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                                                The Mark and Pamela Okada
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                              EXHIBIT B
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Income Fund, NexPoint Strategic Opportunities
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  Highland Capital Management, L.P.
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                              EXHIBIT C
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                                                                                              Exhibit C
                                                                                       Core/2002 Service List
                                                                                      Served via First Class Mail


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                                       Cole, Schotz, Meisel, Forman &                                   301 Commerce Street,
Creditor                               Leonard, P.A.                                                    Suite 1700                                                     Fort Worth   TX      76102
                                                                      Centralized Insolvency
IRS                                    Internal Revenue Service       Operation                         PO Box 7346                                                    Philadelphia PA      19101-7346
                                                                                                        225 Franklin Street, 18th
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Secured Creditor                     KeyBank National Association     as Agent                          127 Public Square                                              Cleveland    OH      44114
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Attorney General of the United                                                                          Main Justice Building,      10th & Constitution
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District of TX                       Attorney                         Erin Nealy Cox, Esq               3rd Floor                                                      Dallas       TX      75202
                                     State Comptroller of Public      Revenue Accounting Division-
TX Comptroller of Public Accounts    Accounts                         Bankruptcy Section              PO Box 13258                                                     Austin       TX      78711
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TX AG Office                         Texas Attorney Generals Office   Bankruptcy-Collections Division PO Box 12548                                                     Austin       TX      78711-2548
Equity Holders                       The Dugaboy Investment Trust                                     300 Crescent Court            Suite 700                          Dallas       TX      75201
                                                                                                      1500 Pennsylvania
U.S. Department of the Treasury      US Department of the Treasury    Office of General Counsel       Avenue, NW                                                        Washington DC       20220
                                                                                                      Delaware Division of          Carvel State Office   820 N. French
Delaware Division of Revenue         Zillah A. Frampton               Bankruptcy Administrator        Revenue                       Building, 8th Floor   Street        Wilmington DE       19801




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                              EXHIBIT D
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                                                                                        Exhibit D
                                                                                  Adversary Service List
                                                                                Served via First Class Mail


                   Description                            CreditorName              CreditorNoticeName                 Address1               Address2        City     State      Zip
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